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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

GEORGE GUTIERREZ,                             )
                                              )
                               Plaintiff,     )
       v.                                     )       No. 2021 CV 02211
                                              )
CITY OF AURORA, AURORA POLICE                 )      Honorable Judge Manish S. Shah
OFFICERS MATTHEW THOMAS                       )
MEYERS (# unknown) and C. McCUE               )
(# unknown),                                  )
                                              )
                               Defendants.    )

                                     PROTECTIVE ORDER

                               (Individual Defendants’ HR files):

       1.      Pursuant to this Court’s Order of April 6, 2022 (Doc. # 24), Defendant, City of

Aurora, shall produce to Plaintiff’s attorneys the HR files of Individual Defendants Meyers and

McCue.

       2.      Production shall be made on or before seven (7) days after this Order is entered.

       3.      The production of said files is subject to the following terms, conditions and

limitation:

       A.      Prior to production, the City is authorized to redact any personally identifiable

information relating to the Individual Defendants.       This personally identifiable information

includes, but is not limited to: Individual Defendants’ social security numbers, driver’s license

numbers, cell phone numbers, home addresses, home telephone numbers; names of spouses and

minor children.

       B.      Counsel for Defendant City is responsible for the preparation of redactions.

       4.      The production of these records is “eyes-only” for Plaintiff and Plaintiff’s

attorneys. Said records shall not be shared with or released to any third party without further Order
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of this Court.

       5.    This Protective Order in no way limits the parties from using materials obtained from

sources independent of the litigation, such as but not limited to via the Freedom of Information

Act, for any purpose allowed by law.

       DATED:         April 13, 2022.




                                                    ____________________________________
                                                    Manish S. Shah, U.S. District Judge



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